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                                                                                          Christian G. Kiely
                                                                                          ckiely@toddweld.com


                                                                November 17, 2020
   VIA ECF
                                                          Mr. Dershowitz's sealing request is
   Honorable Loretta A. Preska                            granted. Ms. Giuffre also may file
   United States District Court                           her response under seal to the extent
   Southern District of New York                          it includes confidential or sealed
   500 Pearl Street                                       material. SO ORDERED.
   New York, NY 10007-1312
                                                                                                 November 18, 2020
           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Dear Judge Preska:

          Pursuant to Rule 2.H.2 of Your Honor’s Individual Practices, Defendant Alan Dershowitz
   (“Professor Dershowitz”) respectfully requests permission to file under seal his Memorandum of Law in
   support of his Motion to Disqualify Cooper & Kirk PLLC, as well as certain exhibits thereto. As
   grounds therefor, Professor Dershowitz states that the Memorandum and exhibits contain material which
   has been designated confidential under the Protective Order in Giuffre v. Maxwell, or which was filed
   under seal in that case. Professor Dershowitz will file a redacted version of his Memorandum to the
   public docket.

          Plaintiff has no objection to this request provided that the Court also allows her to file her
   response under seal in the event it includes confidential or sealed material.



                                                       Respectfully submitted,

                                                       /s/ Christian G. Kiely
                                                       Christian G. Kiely

   cc:     All counsel of record, via email




Todd & Weld LLP • Attorneys at Law • One Federal Street, Boston, MA 02110 • T: 617.720.2626 • F: 617.227.5777 • www.toddweld.com
